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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

TERRY PETTEWAY, THE                   §
HONORABLE DERRECK ROSE,               §
MICHAEL MONTEZ, SONNY                 §
JAMES and PENNY POPE,                 §
                                      §
                   Plaintiffs,        §    Civil Action No. 3:22-cv-57
                                      §
v.                                    §
                                      §
GALVESTON, TEXAS, and                 §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §
UNITED STATES OF AMERICA,             §
                                      §
                   Plaintiff,         §
                                      §
v.                                    §
                                      §    Civil Action No. 3:22-cv-93
GALVESTON, TEXAS,                     §
GALVESTON COUNTY                      §
COMMISSIONERS COURT, and              §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §
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Dickinson Bay Area Branch NAACP,            §
GALVESTON BRANCH NAACP,                     §
MAINLAND BRANCH NAACP,                      §
GALVESTON LULAC COUNCIL                     §
151, EDNA COURVILLE, JOE A.                 §
COMPIAN, and LEON PHILLIPS,                 §     Civil Action No. 3:22-cv-117
                                            §
                      Plaintiffs,           §
                                            §
v.                                          §
                                            §
GALVESTON, TEXAS,                           §
HONORABLE MARK HENRY, in                    §
his official capacity as Galveston          §
County Judge, and DWIGHT D.                 §
SULLIVAN, in his official capacity as       §
Galveston County Clerk                      §
                                            §
                      Defendants.           §
                                            §




 PETTEWAY PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
                 RENEWED MOTION TO STAY

      On May 16, 2022, Defendant filed their first Motion to Stay, arguing, inter alia, that

the United States Supreme Court’s pending Merrill decision might be dispositive of

Plaintiffs’ case. Doc. 36 at 7-9. On May 24, 2022, this Court denied Defendants’ first

Motion to Stay. See Doc. 40. Although Defendants now renew their motion, nothing has

changed to warrant Defendants’ second bite at the apple. This Court should again deny

Defendants’ motion.




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                                  LEGAL ARGUMENT

       Defendants ask this Court to reconsider its previous Order denying their Motion to

Stay on the sole basis that they disagree with the Court’s decision. As discussed below,

Defendants’ Renewed Motion to Stay fails because 1) Defendants fail to meet the standard

for a motion for reconsideration, and 2) Defendants fail to meet the standard for a motion

to stay.

   1. Defendants Do Not Meet the Standard for a Motion for Reconsideration.

       Rule 24(b) of the Federal Rules of Civil Procedure governs this Court’s authority to

reconsider “any order or other decision…that does not end the action.” Id. Reconsideration,

however, “is an extraordinary remedy that should be used sparingly,” as the party seeking

reconsideration must “clearly establish that reconsideration is warranted.” Mod. Am.

Recycling Servs., Inc. v. Dunavant, No. CIV.A. 10-3153, 2012 WL 2087443, at *2 (E.D.

La. June 8, 2012) (citing Schiller v. Physicians Res. Group Inc., 342 F.3d 563, 567 (5th

Cir. 2003)). “When there exists no independent reason for reconsideration other than mere

disagreement with a prior order, reconsideration is a waste of judicial time and resources

and should not be granted.” Id.

       Here, Defendants fail to support their argument with an independent basis

warranting this Court’s reconsideration of its Order. Defendants recycle the same

arguments proffered in their first stay motion, namely, that the Merrill decision presents

similar issues to the present case. Compare Doc. 36 at 4-9 with Doc 77 at 2-5. As in their

previous motion, Defendants cite an unrelated federal district court decision to support

their argument. After this Court issued its order denying Defendants Motion for a Stay, the


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district court in Nairne v. Ardoin granted a motion to stay all proceedings pending the

decision in Merrill v. Milligan as the Supreme Court had also granted a stay in a related

Louisiana statewide redistricting case. Doc. 77-1 at 2-3. Both Nairne and the Supreme

Court’ pending decision in Robinson involve statewide redistricting in Louisiana, and the

district court determined that “that the outcomes in those cases are intertwined.” Doc. 77-

1 at 4.

          But the district court’s decision in Nairne v. Ardoin does not change “law of the

land” affecting the present case. Cf. Doc. 77 at 1. Both Merrill and Robinson seek the

creation of an additional majority-minority district, while the present case seeks the

restoration of an eliminated majority-minority district. Crucially, neither Robinson nor

Nairne raise intent claims, as the present case does. That a different district court made a

different decision based on different circumstances is not an independent reason justifying

reconsideration in the present case. See Mod. Am. Recycling Servs., Inc. v. Dunavant, No.

CIV.A. 10-3153, 2012 WL 2087443, at *2 (E.D. La. June 8, 2012) (“It is well settled that

motions for reconsideration should not be used to re-urge matters that have already been

advanced by a party.”)

          When Defendants in their prior Motion for Stay cited to other stay orders from

federal district courts, the Court determined that “in none of those cases did the trial court

stay its own case simply because a higher court may substantially change its own

precedent.” Doc. 40 at 1-2. That has not changed. Federal courts across the country

continue to litigate cases under Section 2 of the Voting Rights Act in full awareness of the




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Supreme Court’s pending decision in Merrill1—one district court’s decision to stay

proceedings hardly represents a change to the “law of the land.”

       Defendants’ puzzling contention regarding the “canon of constitutional avoidance”

likewise offers no independent reason for reconsideration. Defendants already made that

argument, and this Court recognized that Plaintiffs’ constitutional “challenges will likely

be unaffected by any outcome in Merrill,” such that a delay would “impair this court’s

ability to issue effective relief later.” Doc. 40 at 2-3. Likewise, Defendants repeatedly

misconstrue the purpose of constitutional avoidance to seek their ends. The canon of

constitutional avoidance is an equitable doctrine which aids the court’s final determination

of constitutional questions presented in a case. See Ashwander v. Tennessee Valley Auth.,

297 U.S. 288, 346-49 (1936) (Brandeis, J., concurring).2 Constitutional avoidance is not

relevant to this Court’s discretion to manage its docket and maintain proceedings in the

interest of justice. See id.; see also Guillen v. Lulac, 142 S. Ct. 2773 (2022) (denying Texas

defendants’ emergency application for a stay of depositions pending the outcome in


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  E.g., Arkansas NAACP et al., v. Arkansas Board of Apportionment et al., No. 22-1395
(8th Cir.); Turtle Mountain Band of Chippewa Indians v. Jaeger, 3:22-cv-00022-PDW-
ARS (D.N.D.); Ga. State Conf. NAACP v. Georgia, No. 1:21-CV-5338-ELB-SCJ
(N.D.Ga.); League of United Latin American Citizens v. Abbott, 3:21-cv-00259
(W.D.Tex.).
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  The cases to which Defendants cite in its renewed motion addressed the canon of
constitutional avoidance in the context of merits decisions. In Singleton v. Merrill, the
district court examined constitutional avoidance in its order granting a preliminary
injunction. 582 F. Supp. 3d 924, 937 (N.D. Ala. 2022), order clarified, No. 2:21-CV-1291-
AMM, 2022 WL 272637 (N.D. Ala. Jan. 26, 2022), and appeal dismissed sub nom.
Milligan v. Sec'y of State for Alabama, No. 22-10278-BB, 2022 WL 2915522 (11th Cir.
Mar. 4, 2022). LULAC and Gingles were decided by the Supreme Court in a final appeal.
In none of the cases which Defendants rely does a court examine constitutional avoidance
in the context of this Court’s non-dispositive authority to manage its docket.

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Merrill). See also Labouliere v. Our Lady of Lake Found., No. CV 16-00785-JJB-EWD,

2017 WL 4365989, at *10 (M.D. La. Sept. 29, 2017) (“A court's authority includes the

general discretionary power to stay proceedings before it in the control of its docket and in

the interests of justice.”). Nor would constitutional avoidance prevent resolution of

Plaintiffs’ intentional discrimination claims. In any event, constitutional avoidance bears

no relevance to this Court’s discretion to proceed with discovery in the present case.

       Finally, the schedule for the 2024 elections has not changed since the Court issued

its order denying Defendants’ Motion to Stay. Therefore, Defendants’ repeated claim that

“time too counsels in favor of a stay” provides no independent or intervening reason to

grant a stay, and indeed, merely serves to reveal this motion as a transparent attempt by

Defendants to prevent Plaintiffs from obtaining relief before the Precinct 3 elections.

                                      *      *       *

       In sum, Defendants offer no independent reason why this Court should reconsider

its prior ruling, instead repeating the same arguments that this Court has already rejected.

Therefore, Defendants do not meet the standard to warrant this Court’s reconsideration,

reason enough to deny Defendants’ Motion.

   2. Even If Defendants Meet the Standard for Reconsideration, Defendants Fail to
      Meet the Standard for a Motion to Stay.

       Because Defendants simply rehash their previous arguments, the Court’s reasoning

in its order denying Defendants’ first stay motion applies with equal force here. As this

Court has already noted, the balance of the equities weighs against staying the case. See

Doc. 40 at 2. A court’s authority includes “the ‘general discretionary power to stay



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proceedings before it in the control of its docket and in the interests of justice,” but that

discretion is “not limitless.” Labouliere v. Our Lady of Lake Found., No. CV 16-00785-

JJB-EWD, 2017 WL 4365989, at *10 (M.D. La. Sept. 29, 2017). In determining whether

a stay is appropriate, a court will consider “(1) the potential for hardship and inequity

imposed on the parties by proceeding with the action, (2) whether prejudice will result if a

stay is imposed, and (3) the interests of judicial economy.” Id. See also Doc. 40 at 2.

       Here, there is no hardship imposed on the parties by proceeding with the case,

especially given that the case is in the middle of discovery. Indeed, proceeding with

discovery will allow the parties the opportunity to gather evidence relevant to the claims

and defenses related to both the Section 2 and intentional discrimination allegations in time

for the 2024 Commissioners Court elections. And there is no indication that any decision

in Merrill will make any discovery the parties are undertaking irrelevant. See Merrill v.

Milligan, 142 S. Ct. 879, 879 (mem.) (2022) (Kavanaugh, J., concurring) (“The stay order

does not make or signal any change to voting rights law.”); see also Doc. 40 at 2-3. As

stated above, Merrill, Robinson, and Nairne present different factual and legal

circumstances which do not arise in the present case, and the present case presents factual

and legal circumstances which do not arise in Merrill, Robinson, and Nairne. If the

Supreme Court’s ruling in Merrill ultimately bears on some aspect of this case—by no

means a guarantee— this Court can always reopen discovery for limited purposes.

       In contrast, a stay will severely prejudice the Plaintiffs’ ability to obtain relief in this

case. As this Court noted, “plaintiffs have made clear that they hope to have the

Commissioners Court precinct lines redrawn in time for the 2024 election.” Doc. 40 at 3.


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The operative deadline for the 2024 election is the November 2023 qualifying period.3 A

delay in the litigation would prejudice Plaintiffs’ ability to obtain relief in time for the

November 2023 qualifying period for the 2024 Commissioners’ Court elections. Should

Plaintiffs prevail, the delay caused by a stay would likely require the Court to order special

elections for the Commissioners Court precincts in order to avoid relief being delayed until

the 2028 election cycle. That would be significantly more disruptive and costly than

ensuring resolution in time for the 2024 election. Furthermore, the delay Defendants seek

would halt all discovery in this matter until as late as the end of June 2023, a prejudice the

Supreme Court did not impose on the Merrill plaintiffs when it stayed a preliminary

injunction granting relief in that matter. Waiting almost two years after the November 2021

redistricting cycle to resume discovery is likely to impair witnesses’ ability to recall key

details or obtain documents, or result in witnesses’ unavailability,4 depriving Plaintiffs of

a fair opportunity to gather key evidence to support their claims.

       Similarly a stay in this case will not promote judicial economy. Regardless of the

outcome of Merrill, this Court will have to adjudicate Plaintiffs’ claims in time for the 2024

elections. The parties have already initiated discovery in this case, Plaintiffs have served

their first discovery requests, and Defendants have initiated document production. The

parties must develop a factual record, and there is no indication that Merrill will make any


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  To the extent that Defendants may argue that this Court could move the November 2023
qualifying period, that decision would be premature. If this Court decides that it needs more
time to adjudicate the case later on, it certainly can do so at a later time; delaying discovery
to hypothetically move the qualifying period does not promote judicial economy.
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  This is especially true given that at least one key witness, former Commissioner Ken
Clark, has become unavailable since the filing of Plaintiffs’ Complaint.

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discovery in this case irrelevant. Rather, conducting discovery before a decision in Merrill

is more likely to help the parties and the Court in determining whether and to what extent

the ultimate decision affects this case. If the Court grants Defendants’ stay, the parties

would not be able to resume discovery until as late as the end of June 2023, let alone

dispositive briefing, pretrial briefing, trial, the necessary time for this Court to consider the

evidence and issue a decision, a remedial phase, and any possible appeal. Judicial economy,

therefore, requires that this case proceed. Any theoretical hardship will be circumvented

by this Court’s “ability to adjust quickly to any changes in the law that may come from

Merrill or any other case.” Doc. 40 at 3.

                                       CONCLUSION

       For the foregoing reasons, Plaintiffs request that this Court deny Defendants’

Renewed Motion to Stay.


Respectfully submitted this 21 day of October, 2022.

/s/ Valencia Richardson
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                            CERTICATE OF SERVICE

I HEREBY CERTIFY that on October 21, 2022, the foregoing document was filed
electronically (via CM/ECF), and that all counsel of record were served by CM/ECF.

                                                     /s/ Valencia Richardson
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